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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK



 JANE DOE and SALLY ROE (pseudonyms)                  )
                             Plaintiffs,              )
                     v.                               )
 COUNTY OF WESTCHESTER;                               )
 GEORGE LATIMER, Chief Executive of the               )
 County of Westchester, in his official capacity;
                                                      )
 COUNTY OF WESTCHESTER COUNTY
 DEPARTMENT OF PUBLIC SAFETY;                         )

 TERRANCE RAYNOR, acting Commissioner of              )        Case No. 7:22-cv-6950-PMH
 the Westchester Department of Public Safety, in
                                                      )
 his official capacity;
                                                      )
 NEW ROCHELLE POLICE DEPARTMENT;
                                                      )
 CITY OF WHITE PLAINS DEPARTMENT
 OF PUBLIC SAFETY,                                    )
                             Defendants               )




                             PLAINTIFFS’ MOTION FOR
                      LEAVE TO PROCEED UNDER PSEUDONYMS




To: All Defendants


       PLEASE TAKE NOTICE that upon the Verified Complaint and Exhibits thereto, and the

supporting Memorandum of Law and Exhibit, Plaintiffs shall move on a date to be fixed by the

Court, for leave to proceed under pseudonyms in this action.
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       Plaintiffs request oral argument on this motion as counsel’s familiarity with the record, as

well as legal authorities supporting these claims, may aid the Court in its decision-making process.

Dated: September 30, 2022

                                                   Respectfully submitted,



 MICHAEL G. MCHALE, ESQ*.                         CHRISTOPHER A. FERRARA, ESQ.
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 Counsel for Plaintiffs                           Counsel for Plaintiffs
 * Pro hac vice
